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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

LABORERS’ PENSION FUND, LABORERS’ )
WELFARE FUND OF THE HEALTH AND )
WELFARE DEPARTMENT OF THE )
CONSTRUCTION AND GENERAL )
LABORERS’ DISTRICT COUNCIL OF )
CHICAGO AND VICINITY, THE CHICAGO )
LABORERS’ DISTRICT COUNCIL RETIREE )
HEALTH AND WELFARE FUND and )
CATHERINE WENSKUS, not individually, but )
as Administrator of the Funds, )
)

Plaintiffs, ) Case No.: 20 C 908
v. )
)
MIDWEST MILLING AND PAVING COMPANY  )
INC., an Illinois corporation, )
Defendant. )

COMPLAINT

Plaintiffs Laborers’ Pension Fund and Laborers’ Welfare Fund of the Health and Welfare
Department of the Construction and General Laborers’ District Council of Chicago and Vicinity,
the Chicago Laborers’ District Council Retiree Health and Welfare Fund, and Catherine
Wenskus, Administrator of the Funds (hereinafter collectively “Funds”), by their attorneys,
Patrick T. Wallace, Amy N. Carollo, G. Ryan Liska, Katherine C. Mosenson, and Sara S.
Schumann and for their Complaint against Defendant Midwest Milling And Paving Company,
Inc., state the following:

COUNT I
(Failure to Submit to an Audit)

For a cause of action by Plaintiffs Funds against Defendant Midwest Milling And Paving
Company, Inc.:
1. Jurisdiction is based on Sections 502(e)(1) and (2) and 515 of the Employee

Retirement Income Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. §§1132 (e)(1) and
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(2) and 1145, Section 301(a) of the Labor Management Relations Act (““LMRA”) of 1947 as
amended, 29 U.S.C. §185(a), 28 U.S.C. §1331, and federal common law.

2. Venue is proper pursuant to Section 502(e)(2) of ERISA, 29 U.S.C. §1132(e)(2),
and 28 U.S.C. §1391 (a) and (b).

3. The Funds are multiemployer Trusts established pursuant to Section 302(c)(5) of
the LMRA. 29 U.S.C. § 186(c)(5). The Funds maintain their respective Plans, which are
multiemployer benefit plans within the meanings of Sections 3(3) and 3(37) of ERISA, 29
U.S.C. § 1002(3) and 37(A), pursuant to their respective Agreements and Declarations of Trust
in accordance with Section 302(c)(5) of the LMRA. The Funds have offices and conduct
business within this District.

4, Plaintiff Catherine Wenskus is the Administrator of the Funds, and has been duly
authorized by the Funds’ Trustees to act on behalf of the Funds in the collection of employer
contributions owed to the Funds and to the Construction and General District Council of Chicago
and Vicinity Training Fund, and with respect to the collection by the Funds of amounts which
have been or are required to be withheld from the wages of employees in payment of Union dues
for transmittal to the Construction and General Laborers’ District Council of Chicago and
Vicinity (the “Union”). With respect to such matters, Wenskus is a fiduciary of the Funds within
the meaning of Section 3(21)(A) of ERISA, 29 U.S.C. §1002(21)(A).

5. Defendant Midwest Milling And Paving Company, Inc. (the “Company”)
conducts business within this District and was at all times relevant herein an employer within the
meaning of Section 3(5) of ERISA, 29 U.S.C. §1002(5), and Section 301(a) of the LMRA, 29

U.S.C. §185(c).
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6. The Union is a labor organization within the meaning of 29 U.S.C. 158(a). The
Union and Company have been parties to a Collective Bargaining Agreement (“Agreement”), at
all times relevant, and at least since, January 1, 2015 (See attached Exhibit A, a copy of
Company’s “short form” Agreement entered into between the Union and Company that adopts
and incorporates the Master Agreements between the Union and various employer associations,
and also binds Company to the Funds’ respective Agreements and Declarations of Trust).

7. The Funds have been duly authorized to serve as collection agents for the Union
in that the Funds have been given the authority to collect from employers union dues which
should have been or have been deducted from the wages of covered employees. Further, the
Funds have been duly authorized by the Construction and General Laborers’ District Council of
Chicago and Vicinity Training Fund (the “Training Fund”), the Midwest Construction Industry
Advancement Fund (“MCIAF”), the Mid-American Regional Bargaining Association Industry
Advancement Fund (“MARBA”), the Chicagoland Construction Safety Council (the “Safety
Fund”), the Laborers’ Employers’ Cooperation and Education Trust (““LECET”), the Concrete
Contractors Association (“CCA”), the CDCNI/CAWCC Contractors’ Industry Advancement
Fund (the “Wall & Ceiling Fund”), the CISCO Uniform Drug/Alcohol Abuse Program
(“CISCO”), the Laborers’ District Council Labor Management Committee Cooperative
(“LDCLMCC”), the Will Grundy Industry Trust Advancement Fund (“WGITA”), the Illinois
Environmental Contractors Association Industry Education Fund (“IECA Fund”), the Illinois
Small Pavers Association Fund (“ISPA”), and the Chicago Area Independent Construction

Association (“CAICA”) to act as an agent in the collection of contributions due to those Funds.
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8. The Agreement and the Funds’ respective Agreements and Declarations of Trust
require Company to submit its books and records to the Funds on demand for an audit to
determine benefit contribution compliance.

9. The Agreement further requires Company to obtain and maintain a surety bond to
guaranty the payment of future wages, pension and welfare benefits.

10. Notwithstanding the obligations imposed by the Agreement and the Funds’
respective Agreements and Declarations of Trust, Company has failed to submit books and
records for the requested audit for the period of January 1, 2016 forward, thereby depriving the
Funds of information and income necessary to administer the respective Funds.

11. Company’s actions in failing to submit to the audit violate Section 515 of
ERISA, 29 U.S.C. §1145 and Section 301 of the LMRA.

12. Pursuant to Section 502(g)(2) of ERISA, 29 U.S.C. §1132(g)(2), Section 301 of
the LMRA, 29 U.S.C. §185, federal common law, and the terms of the Agreement and the
Funds’ respective Trust Agreements, Company is liable to the Funds for delinquent
contributions, liquidated damages, interest, attorneys’ fees and costs, and such other legal and
equitable relief as the Court deems appropriate.

WHEREFORE, Plaintiffs respectfully request that judgment be entered in their favor and
against Defendant Midwest Milling & Paving Company, Inc.:

a. ordering Company to submit its books and records for an audit, covering the
period of January 1, 2016 forward;

b. entering judgment in sum certain in favor of the Funds and against Company on
the amounts due and owing for the period of January 1, 2016 forward, including contributions,

interest, liquidated damages, audit costs and Plaintiffs’ reasonable attorneys’ fees and costs;
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C, ordering Company to obtain and maintain a surety bond in accord with the terms
of the Agreement; and

d. awarding Plaintiffs any further legal and equitable relief as the Court deems
appropriate.

COUNT II
(Failure to Submit to Dues Audit)

For a cause of action by Plaintiffs Funds against Defendant Company:

13. Plaintiffs reallege paragraphs 1 through 12 as fully set forth herein.

14. Pursuant to agreement, the Funds have been duly designated to serve as collection
agents for the Union in that the Funds have been given the authority to collect from employers
union dues which should have been, or were, deducted from the wages of covered employees.

15. Notwithstanding the obligations imposed by the Agreements, Company failed to
submit its books and records to a requested audit for the period of January 1, 2016 forward,
depriving the Union of information necessary to confirm that Company has withheld and
submitted payment of union dues that were or should have been withheld from the wages of
employees during the audit period.

16. Pursuant to the Agreements, Company owes liquidated damages on all unpaid
dues.

17. Pursuant to the Agreement, Company is liable to the Funds for any unpaid union
dues revealed by the audit as well as liquidated damages, audit costs, reasonable attorneys’ fees
and costs as the Union’s collection agent, and such other legal and equitable relief as the Court
deems appropriate.

WHEREFORE, Plaintiffs respectfully request this Court enter a judgment against

Defendant Midwest Milling And Paving Company, Inc.:
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a. ordering Company to submit to an audit for the period of January 1, 2016
forward;
b. entering judgment in sum certain in favor of the Funds and against Company on

the amounts due and owing pursuant to the audit, covering January 1, 2016 forward, including
dues, liquidated damages, audit costs, and Plaintiffs’ reasonable attorneys’ fees and costs; and
C. awarding Plaintiffs arty further legal and equitable relief as the Court deems

appropriate.

Respectfully submitted,
LABORERS’ PENSION FUND, et al.,

By: /s/_ Sara S. Schumann
One of Plaintiffs’ attorneys

Laborers’ Pension and Welfare Funds
Office of Fund Counsel

111 W. Jackson Blvd., Suite 1415
Chicago, IL 60604

(312) 692-1497

SaraS@chilpwf.com
February 7, 2020
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CONSTRUCTION & GENERAL LABORERS’
DISTRICT COUNCIL OF CHICAGO AND VICINITY

AFFILIATED WITH THE LABORERS’ INTERNATIONAL UNION OF NORTH AMERICA
999 MeCLINTOCK DRIVE * SUITE 300 * BURR RIDGE, 11 60527» PHONE: 630/655-8289 « FAX: 630/655-8053

 

 

INDEPENDENT CONSTRUCTION INDUSTRY COLLECTIVE BARGAINING AGREEMENT

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and General Laborers* Distriut Councl of Chisago ant Vielony, Laborets’ intarnatonal Union oldlori Amenca {"Uslancy, fenresenting and encompassing its ¢ffitatedl Loce! Unions;
Including Local Nes. 11:2,.4, 5, GAH, 73, 78, 95, 178, 749, (182, 225. 269, 285, 582° tay, 1 1, 1088 t ; | i

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i. the sole and exdusive collective bargaining epresentallve under Section 5{2} of the MURA, 38 amended, inr the amipisyees now and hurebiater emalgyed under the terms of
this Adresmer! wilt renpict to wages, hours anc olhar terms and conditlans of employment This regegrition ls based on the Unint's having shown, of having oftered tn chow,
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hivoXse Me prior aneignment of bargaining chghts, Hl any, The Employer lurlher valuatarlly efacts nat to REBigi such bargaitiny rights ko any persotn entity or association wthcut
written appreval from the Union. Notwithstanding tha number of pareans omployod under this Agreement, Ihe Emoleyer etiall abide by this Agreamant, and all axtunsians hareal,
and k welvab any right It may havo to terminate (nis ayraement based upon the number o parsons emplovad,

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\Iknole Small Pavert Association, the Lake County Contiactonr Agsociation, the Mason Covtectora Assorintion of Grealae Chinaps, the Underground Contractors Assoctetian,-and
all other mplayer associations wih whom the Union or is attillated Local Unions have aa igraemant. If tha applicable Collective Bargaining Agreemant(s) expire during Ihe term
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lo apreééd ‘thal a9. candition of such sale or tianater thet the nen owner or macwoor, wither corporate or ladiyidual, sttall be tuly bound oy meters aid conditions of this
Agreament. Tha Employer shal provide no teas thar ton (10) chys' prior writtai\ notice to Lhe Union of the sale or transtr and shal be obfipated for all epanses inqurved fry the
Union ta enforce the lerms of this paragraph,

‘10. Termination, This Agroamsnt shall remain in full-force and «liegt {rom darie SAO ile tnd citerely below) through: May 31, 2017, and shall continue tore
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cesstve Collective Bargalning Agreement.

11. Exneutlon, Tha signatory below wariants his ar her receipt of the applicable Collective Bargaining Agreamant(s) ard asthorization trom ina Empioyir to execute this
Agraament, without fraud or duress, and with full knowladige of tha obligations and undortakinge contained herein. The patties acknowledge and accep! facsiniie signatures on fils
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EXIBIT
